                         Case 3:16-cv-00885-AVC Document 119-22 Filed 10/30/17 Page 1 of 6
        MONTAGUE v. YALE UNIVERSITY                                               January 10, 2017

                                                                                                Page 1
                    UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF CONNECTICUT
                    CIVIL ACTION No: 3:16 cv-00885-AVC
                    ----------------------------------x
                    JACK MONTAGUE,                                   :
                             Plaintiff,                              :
                                            -v-                      :
                    YALE UNIVERSITY, ANGELA GLEASON,                 :
                    And JASON KILLHEFFER,                            :
                             Defendants.                             :
                    ----------------------------------x


                                                    Depositon of JASON KILLHEFFER, taken
                    pursuant to Notice, held at the Law Offices of Jacobs
                    & Dow, LLC, 350 Orange Street, New Haven, Connecticut,
                    before James A. Martone, LSR #248, and Notary Public,
                    in and for the State of Connecticut, on January 10,
                    2017, at 10:05 a.m.




                                                    Sanders, Gale & Russell
                                                         (203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767)                          31a4d12d-81e0-45a5-b5d0-50b58814fcad
                         Case 3:16-cv-00885-AVC Document 119-22 Filed 10/30/17 Page 2 of 6
        MONTAGUE v. YALE UNIVERSITY                                              January 10, 2017

                                                                                               Page 2
            1       A P P E A R A N C E S:
            2
            3                  For the Plaintiff:
            4       TODD & WELD, LLP
            5       One Federal Street-27th Floor
            6       Boston, MA            01880
            7       BY:      MAX D. STERN, ESQ.
            8       AND:       HILLARY A. LEHMANN, ESQ.
            9       mstern@toddweld.com
          10
          11                   For the Defendants:
          12        DONAHUE, DURHAM & NOONAN, PC
          13        741 Boston Post Road
          14        Guilford, Connecticut                   06347
          15        BY:      PATRICK NOONAN, ESQ.
          16
          17
          18
          19
          20
          21
          22
          23
          24
          25


                                                    Sanders, Gale & Russell
                                                         (203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767)                         31a4d12d-81e0-45a5-b5d0-50b58814fcad
                         Case 3:16-cv-00885-AVC Document 119-22 Filed 10/30/17 Page 3 of 6
        MONTAGUE v. YALE UNIVERSITY                                                 January 10, 2017

                                                                                                 Page 3
            1                                       S T I P U L A T I O N S
            2
            3            IT IS HEREBY STIPULATED AND
            4         AGREED by and between counsel for the
            5         respective parties hereto that all
            6         technicalities as to proof of the official
            7         character before whom the deposition is to
            8         be taken are waived.
            9
          10             IT IS FURTHER STIPULATED AND
          11          AGREED by and between counsel for the
          12          respective parties hereto that the
          13          deposition may be signed before any Notary Public.
          14
          15             IT IS FURTHER STIPULATED AND
          16          AGREED by and between counsel for the
          17          respective parties hereto that all
          18          objections, except as to form, are reserved
          19          to the time of trial.
          20
          21
          22                                                *   *   *   *   *   *
          23
          24
          25


                                                    Sanders, Gale & Russell
                                                         (203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767)                           31a4d12d-81e0-45a5-b5d0-50b58814fcad
                         Case 3:16-cv-00885-AVC Document 119-22 Filed 10/30/17 Page 4 of 6
        MONTAGUE v. YALE UNIVERSITY                                              January 10, 2017

                                                                                               Page 4
            1                                       WITNESS INDEX
            2
            3                                                                     PAGE
            4       Direct Examination by Mr. Stern                                    5
            5
            6                                               EXHIBIT INDEX
            7       PLAINTIFF                     DESCRIPTION                        PAGE
            8       20     Confidential Yale University Title IX
            9              Incident Summary Form                                       22
          10        21     August 19, 2013 letter                                      76
          11        22     Sexual Misconduct Scenerios document                        80
          12        23     E-mail chain                                              159
          13        24     3/12/16 E-mail                                            162
          14        25     February 23, 2016 E-mail exchange                         163
          15        26 February 23, 2016 E-mail                                      166
          16        27     February 24, 2016 E-mail                                  167
          17        28     3/17/2016 E-mail chain                                    168
          18        29     June 9, 2016 e-mail                                       173
          19        30     Document entitled Introduction to the
          20               WESTAT-Yale report                                        175
          21        31     Document entitled Results of AAU Survey
          22               On Sexual Assault and Misconduct                          175
          23        32     Document entitled confidential draft                      184
          24
          25


                                                    Sanders, Gale & Russell
                                                         (203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767)                         31a4d12d-81e0-45a5-b5d0-50b58814fcad
                         Case 3:16-cv-00885-AVC Document 119-22 Filed 10/30/17 Page 5 of 6
        MONTAGUE v. YALE UNIVERSITY                                                    January 10, 2017

                                                                                                    Page 5
            1       JASON KILLHEFFER,
            2         called as a witness, having been first duly
            3         sworn by James A. Martone, a Notary Public
            4         in and for the State of Connecticut:
            5       DIRECT EXAMINATION BY MR. STERN:
            6                A.       Okay.         Please state your name.
            7                A.       Jason Killheffer.
            8                Q.       Spell it, please.
            9                A.       J A S O N.            Last name, K I L L H E F F E R.
          10                                      MR. NOONAN:     We probably should state
          11        for the record what we just stated off the record, and
          12        that is that we're going to use real names in this
          13        transcript, in this deposition, but if we need to file
          14        the transcript or transmit it to anyone other than the
          15        parties, the lawyers, we will redact the names.
          16                 A.       Okay.
          17                                      MR. STERN:     Right, and we have agreed
          18        to the usual stipulations.
          19                                      MR. NOONAN:     Right.
          20                                        MR. STERN:    All objections and
          21        motions to strike except as to form saved until the
          22        time of trial.
          23                                        MR. NOONAN:    Right.
          24                                        MR. STERN:    Witness will read and
          25        sign?


                                                    Sanders, Gale & Russell
                                                         (203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767)                              31a4d12d-81e0-45a5-b5d0-50b58814fcad
                         Case 3:16-cv-00885-AVC Document 119-22 Filed 10/30/17 Page 6 of 6
        MONTAGUE v. YALE UNIVERSITY                                                   January 10, 2017

                                                                                                 Page 175
            1                                     MR. NOONAN:    Yes.
            2                A.       I mean I don't know.
            3                                     MR. NOONAN:    And if I could reveal
            4       it, I wouldn't be putting it on somebody else's
            5       deposition transcript.
            6                                     MR. STERN:    Off the record.
            7                                     (Discussion off the record)
            8                Q.       Let's go back on the record.             We can agree
            9       that Yale is not claiming attorney/client privilege
          10        with communications with                    Jane Roe   .
          11                                      MR. NOONAN:   Yes, correct.
          12                 Q.       Okay.         Did there come a time in the fall,
          13        in September of 2015, when the American Association of
          14        Universities published the results of a survey it had
          15        done after number of universities concerning sexual
          16        misconduct?
          17                 A.       Yes.        With minor clarifications.
          18                 Q.       Okay.         What are the clarifications?
          19                 A.       Published its own results.           Each school
          20        that participated in the survey were given their
          21        results, published their own results on the same day.
          22                                      MR. STERN:    Let's mark this.
          23                                      (Plaintiff's Exhibits 30-31
          24                                      Marked for identification)
          25                 Q.       So the survey results were published in --


                                                    Sanders, Gale & Russell
                                                        (203) 624-4157

Electronically signed by JAMES MARTONE (601-171-250-7767)                              31a4d12d-81e0-45a5-b5d0-50b58814fcad
